                                Fourth Court of Appeals
                                       San Antonio, Texas
                                    CONCURRING OPINION
                                          No. 04-24-00125-CV

                                IN THE INTEREST OF F.S.F., a Child

                      From the 288th Judicial District Court, Bexar County, Texas
                                   Trial Court No. 2022-PA-01896
                         Honorable Charles E. Montemayor, Judge Presiding

Opinion by: Rebeca C. Martinez, Chief Justice
Concurring Opinion by: Irene Rios, Justice

Sitting:          Rebeca C. Martinez, Chief Justice
                  Irene Rios, Justice
                  Lori I. Valenzuela, Justice

Delivered and Filed: August 14, 2024

           I agree there is sufficient evidence supporting the trial court’s best interest determination

and finding under subsection 161.001(b)(1)(E). See TEX. FAM. CODE ANN. §§ 161.001(b)(1)(E),

(b)(2).     I also conclude there is sufficient evidence to support the trial court’s subsection

161.001(b)(1)(D) finding. See id. § 161.001(b)(1)(D); In re B.R., No. 02-11-00146-CV, 2011 WL

5515502, at *3–4 (Tex. App.—Fort Worth Nov. 10, 2011, no pet.) (mem. op.) (concluding

Mother’s drug use while pregnant coupled with incarceration during the pendency of the case was

sufficient to support the trial court’s subsection (D) and (E) findings). However, Chief Justice

Martinez’s opinion does not address statutory ground (D). I write separately to express concerns

with the decision to forgo analysis of the trial court’s finding under statutory ground (D).

           Subsection 161.001(b)(1)(M) of the Texas Family Code provides that parental rights may

be terminated if clear and convincing evidence supports that the parent “had his or her parent-child
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relationship terminated with respect to another child based on a finding that the parent’s conduct

was in violation of Paragraph (D) or (E) . . . .” TEX. FAM. CODE ANN § 161.001(b)(1)(M).

“Therefore, when parental rights have been terminated under either section 161.001(b)(1)(D) or

(E), that ground becomes a basis to terminate that parent’s rights to other children.” In re N.G.,

577 S.W.3d 230, 234 (Tex. 2019). “Because only one ground is required to terminate parental

rights—and therefore a section 161.001(b)(1)(M) ground based on a prior termination would be

sufficient to terminate parental rights to another child in another termination proceeding—the

collateral consequences of terminating parental rights under section 161.001(b)(1)(D) or (E) are

significant.” Id. “When a parent has presented the issue on appeal, an appellate court that denies

review of a section 161(b)(1)(D) or (E) finding deprives the parent of a meaningful appeal and

eliminates the parent’s only chance for review of a finding that will be binding as to parental rights

to other children.” Id. at 235. Accordingly, the supreme court held due process concerns mandate

that if a court of appeals affirms the termination on either of these grounds, it must provide the

details of its analysis. Id. at 237.

        Here, Chief Justice Martinez provides a detailed analysis of ground (E) but not ground (D).

However, this court does not only affirm on ground (E), its judgment affirms the entire termination

order, which includes the trial court’s finding on the challenged but unreviewed ground (D).

“Allowing section 161.001(b)(1)(D) or (E) findings to go unreviewed on appeal when the parent

has presented the issue to the court . . . violates the parent’s due process and due course of law

rights.” Id. at 237. In this appeal, Mother challenges the trial court’s (D) and (E) findings. Thus,

I believe the court’s failure to review ground (D) runs afoul of due process and due course of law.

See id. at 235 (“A parent may be denied the fundamental liberty interest in parenting only after

they have been provided due process and due course of law, and terminating parental rights based

on a challenged, unreviewed section 161.001(b)(1)(D) or (E) finding runs afoul of this principle.”).


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Concurring Opinion                                                                       04-24-00125-CV


Mother could potentially suffer a collateral consequence that violates her due process rights if a

trial court in the future terminated her rights to other children using ground (M) alone based on the

unreviewed ground (D) in this case. In that scenario, Mother’s fundamental liberty interest in

parenting would be denied without due process and due course of law because the future

termination would be based on a challenged, unreviewed subsection 161.001(b)(1)(D) finding in

this appeal. See id.

        The reason not to address an additional endangerment ground when one has already been

reviewed and affirmed might seem logical considering we are to hand down “a written opinion

that is as brief as practicable but that addresses every issue raised and necessary to final disposition

of the appeal.” See TEX. R. APP. P. 47.1. However, the supreme court in In re N.G. concluded

“that the parent’s fundamental liberty interest at stake outweighs the state’s interest in deciding

only what is necessary for final disposition of the appeal.” N.G., 577 S.W.3d at 237. Therefore,

if challenged on appeal, we should address the sufficiency of the evidence to support the trial

court’s findings under both grounds (D) and (E) even when we determine there is sufficient

evidence of a single termination ground. See In re L.G., 596 S.W.3d 778, 781 (Tex. 2020)

(emphasis added) (“Consistent with In re N.G., 577 S.W.3d at 235–36, we conclude that the court

of appeals erred in failing to detail its analysis of the challenged findings under section

161.001(b)(1)(D) and (E).”); In re D.J.R., No. 04-23-00568-CV, 2023 WL 8246666, at *2 (Tex.

App.—San Antonio Nov. 29, 2023, no pet.) (mem. op.) (“[E]ven though the trial court’s

unchallenged findings under subsections (N) and (O) may support its termination order, we must

still consider [Mother’s] issues relating to the sufficiency of the evidence to support the trial court’s

findings under subsections (D) and (E)” because “termination findings under subsections (D) and

(E) may serve as the basis for a future termination of parental rights proceeding”).




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Concurring Opinion                                                                             04-24-00125-CV


        Chief Justice Martinez opines In re I.C., No. 04-23-00954-CV, 2024 WL 1543302 (Tex.

App.—San Antonio Apr. 10, 2024, no pet.) (mem. op.), is the only precedent from this court to

explicitly consider whether a detailed analysis under both (D) and (E) is required. However, she

fails to recognize that three years prior to In re I.C.’s issuance, this court acknowledged the

necessity to review challenged (D) and (E) findings on appeal even when parental rights to other

children have already been terminated on previously reviewed (D) and (E) findings. See In re

M.K.V., 648 S.W.3d 478, 485 (Tex. App.—San Antonio 2021, no pet.) (“Even recognizing that a

parent may have a previous reviewed finding under subsections (D) and (E) against them, any

challenged but unreviewed findings under subsections (D) and (E) could create a future risk of a

due process violation[, and] [f]or that reason, we review the trial court’s findings under subsections

(D) and (E).”). Chief Justice Martinez’s reasoning that the unreviewed (D) finding in this case

does not increase the collateral consequences of that finding is irreconcilable with this court’s prior

conclusion that any unreviewed but challenged findings under subsections (D) and (E) would

create a future risk of a due process violation. See id. She fails to explain why this court would

require review of (D) and (E) findings in a subsequent appeal even when there are previously

reviewed (D) and (E) findings in a prior appeal, yet not be required to review a challenged (D)

finding in the same appeal simply because the court affirmed the sufficiency of the evidence on

the challenged (E) finding. I cannot reconcile Chief Justice Martinez’s opinion in this appeal or

the holding in In re I.C. with this court’s prior holding in In re M.K.V.1 See Mitschke v. Borromeo,

645 S.W.3d 251, 257 (Tex. 2022) (“If one appellate panel decides a case, and another panel of the




1
 To support her position, Chief Justice Martinez also cites In re X.J.R., No. 04-20-00368-CV, 2021 WL 112175, at
*3 (Tex. App.—San Antonio Jan. 13, 2021, pet. denied) (mem. op.). Notably, the X.J.R. court provided a detailed
analysis on grounds (D) and (E). The reliance on X.J.R. is puzzling.


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Concurring Opinion                                                                              04-24-00125-CV


same court differently resolves a materially indistinguishable question in contravention of a

holding in the prior decision, the second panel has violated the foundational rule of stare decisis.”).

        Chief Justice Martinez also puts much emphasis on the supreme court’s use of the

disjunctive word “or” throughout its opinion in In re N.G. She opines the supreme court referred

to review of “(D) or (E)” throughout In re N.G. because review of either ground is sufficient to

satisfy due process concerns. I disagree.

        The supreme court repeatedly used the disjunctive word “or” throughout its analysis of In

re N.G. because we are required to review termination of the endangerment grounds only when

they are challenged on appeal. However, if the trial court only made a finding on subsection (D),

we of course would not analyze subsection (E) findings because subsection (E) findings would not

be challenged on appeal. Likewise, if the trial court made a finding on both endangerment grounds,

yet the parent only challenged one of those endangerment grounds, we would only review the

challenged ground. The supreme court’s use of the word “or” created flexibility to accommodate

every situation where either a subsection (D) finding alone, a subsection (E) finding alone, or both

subsections (D) and (E) findings were challenged on appeal. The parent in In re N.G. challenged

the trial court’s findings under both subsections (D) and (E). N.G., 577 S.W.3d at 233; see also In

re N.G., 575 S.W.3d 370, 376 (Tex. App.—Dallas 2018), rev’d, 577 S.W.3d 230 (Tex. 2019).

Significantly, in its application of the new precedent, the supreme court in In re N.G. concluded

that the court of appeals “erred in failing to review the legal and factual sufficiency of the evidence

to support section 161.001(b)(1)(D) and (E) findings as grounds for termination . . . .” N.G.,

577 S.W.3d at 239 (emphasis added) 2; see also L.G., 596 S.W.3d at 781.



2
  The Dallas Court of Appeals reviewed both grounds (D) and (E) on remand even though it recognized that only one
statutory ground under section 161.001(b)(1) of the Texas Family Code is necessary. See In re N.G., No. 05-17-
01255-CV, 2019 WL 4126496, at *4–7 (Tex. App.—Dallas Aug. 30, 2019, pet. denied) (mem. op.).


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Concurring Opinion                                                                                04-24-00125-CV


        I am not persuaded by Chief Justice Martinez’s reliance on In re C.E., 687 S.W.3d 304
(Tex. 2024).     In that case, the Fort Worth Court of Appeals determined the evidence was

insufficient to terminate the mother’s parental rights on grounds (D) and (E). 3 In re C.E., No. 02-

22-00285-CV, 2023 WL 170762, at *1 (Tex. App.—Fort Worth Jan. 12, 2023), rev’d, 687 S.W.3d

304 (Tex. 2024). The supreme court reversed the court of appeals, holding there was sufficient

evidence to terminate on ground (E) and declined to address the sufficiency of the evidence on

ground (D), a ground already reviewed by the court of appeals. See C.E., 687 S.W.3d at 314. In

re C.E. may seem on point with this case. However, that case is both factually and procedurally

distinguishable from the case before us.

        First, the Department filed the petition for discretionary review in In re C.E., not the parent.

When the parent challenges subsection (D) or (E) findings, due process requires we review those

findings. See N.G., 577 S.W.3d at 237 (emphasis added) (“Allowing section 161.001(b)(1)(D) or

(E) findings to go unreviewed on appeal when the parent has presented the issue to the court thus

violates the parent’s due process and due course of law rights.”). The same cannot be said when

the Department challenges those findings.

        Second, in In re C.E., the supreme court did not address the court of appeals’ prior holding

that the evidence was insufficient to support subsection (D). See C.E., 687 S.W.3d at 314. Instead,

after concluding there was sufficient evidence under subsection (E), the supreme court remanded

the case to the court to address the “remaining issues that the court of appeals did not address.”

Id. (emphasis added). Thus, the supreme court left intact the court of appeals’ holding under

subsection (D) and directed the court of appeals to consider only the issues it had not previously

considered. Therefore, the court of appeals’ subsection (D) holding was not affected and will


3
  Though not relevant here, the court of appeals also determined there was insufficient evidence on ground (O). See
In re C.E., 687 S.W.3d 304, 307 (Tex. 2024).


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Concurring Opinion                                                                                   04-24-00125-CV


presumably remain for purposes of the court of appeals’ analysis on remand. Accordingly,

subsection (D) was not left unreviewed, and In re N.G.’s requirement to review both subsections

(D) and (E) was served.

         While Chief Justice Martinez emphasizes the supreme court’s decision not to address the

trial court’s subsection (E) findings in In re C.E., she fails to explain why Justice Bland stated the

supreme court must review both subsections (D) and (E) in In re R.R.A., 687 S.W.3d 269, 279

(Tex. 2024), an opinion that was issued after In re C.E. 4 See In re R.R.A., 687 S.W.3d 269, 279

(Tex. 2024) (“Although termination under (P) is sufficient to reverse the judgment of the court of

appeals, we must also review termination under subsections (D) and (E) because a finding of

termination under those grounds may justify termination of parental rights to other children under

subsection (M).”).

         I agree with the court’s judgment affirming the trial court’s termination order. But because

Mother’s fundamental liberties to parent children are at stake, I believe we must address the

sufficiency of the evidence under both challenged grounds (D) and (E). Notably, since the supreme

court issued In re N.G., this court has repeatedly reviewed the sufficiency of the evidence

supporting both endangerment grounds when they have been challenged on appeal. 5 See In re


4
  Compare In re C.E., 687 S.W.3d at 314 (holding, in an opinion issued on March 1, 2024, that “[h]aving found
sufficient evidence to uphold the termination of Mother’s parental rights under paragraph (E), we need not address
paragraph (D)”), with In re R.R.A., 687 S.W.3d 269, 281 (Tex. 2024) (emphasis added) (holding, in an opinion issued
on March 22, 2024, “that legally sufficient evidence supports the trial court’s determination that Father’s conduct
endangered the children under (D) and (E)”).
5
  See In re E.S.P., No. 04-23-00956-CV, 2024 WL 1642926, at *2 (Tex. App.—San Antonio Apr. 17, 2024, pet.
denied) (mem. op.) (“[B]ecause termination under subsection 161.001(b)(1)(D) or (E) may have implications for a
parent’s parental rights to other children, . . . we will consider Mother[’s] and Father’s sufficiency argument as to
subsections (D) and (E) even though they do not challenge termination under subsections (N) . . . , (O) . . . , and
(P) . . . .”); In re I.F.E.-G., No. 04-22-00755-CV, 2023 WL 3856733, at *2 (Tex. App.—San Antonio June 7, 2023,
no pet.) (mem. op.) (“When a parent challenges findings under subsection (D) and/or subsection (E), we must address
those grounds even if there are other predicate grounds because of the potential future consequences of parental rights
to another child.”); In re A.L.S., 660 S.W.3d 257, 263 (Tex. App.—San Antonio 2022, pet. denied) (providing
appellate courts must address a parent’s challenges to subsections (D) and (E) “because termination under subsections
(D) or (E) may have implications for a parent’s parental rights to other children”); In re N.M.R., No. 04-22-00032-



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Concurring Opinion                                                                                     04-24-00125-CV


K.A.W., No. 04-22-00724-CV, 2023 WL 2672876, at *3 (Tex. App.—San Antonio Mar. 29, 2023,

no pet.) (mem. op.) (“Although Mother does not challenge predicate ground (O), Mother’s due

process and due course of law rights require that we consider Mother’s issue as to the trial court’s

findings under grounds (D) and (E) because these findings may impact future termination

proceedings.”); In re J.C., No. 04-21-00421-CV, 2022 WL 379957, at *2 (Tex. App.—San

Antonio Feb. 9, 2022, pet. denied) (mem. op.) (same). But see In re I.C., No. 04-23-00954-CV,

2024 WL 1543302, at *3 (Tex. App.—San Antonio Apr. 10, 2024, no pet.) (mem. op.) 6 (declining

to address subsection (D) when holding there is sufficient evidence to support the trial court’s

subsection (E) finding despite an entire progeny of caselaw from this court requiring review of

both endangerment grounds when challenged on appeal).




CV, 2022 WL 3640223, at *3 (Tex. App.—San Antonio Aug. 24, 2022, pet. denied) (mem. op.) (“When challenged,
due process requires us to review the trial court’s findings under both [sub]sections 161.001(b)(1)(D) and (E) . . . .”);
In re B.N.D., No. 04-21-00286-CV, 2021 WL 6127883, at *2 (Tex. App.—San Antonio Dec. 29, 2021, no pet.) (mem.
op.) (“Because of the potential future consequences of an endangerment finding for parental rights to another child,
we begin by addressing the sufficiency of the evidence to support the trial court’s findings under subsections (D) and
(E).”); In re X.J.R., No. 04-20-00368-CV, 2021 WL 112175, at *3 (Tex. App.—San Antonio Jan. 13, 2021, pet.
denied) (mem. op.) (“Because grounds (D) and (E) implicate due process and due course of law requirements, we
‘must provide the details of [our] analysis’ for either of these grounds which we affirm.” (quoting N.G., 577 S.W.3d
at 237)); In re L.P., No. 04-20-00140-CV, 2020 WL 5027385, at *7 (Tex. App.—San Antonio Aug. 26, 2020, pet.
denied) (mem. op.) (analyzing both grounds (D) and (E)); In re I.N.D., No. 04-20-00121-CV, 2020 WL 2441375, at
*2–4 (Tex. App.—San Antonio May 13, 2020, pet. denied) (mem. op.) (holding we must review the sufficiency of the
evidence supporting the trial court’s findings under both subsections (D) and (E) “because termination on an
endangerment ground may later be used to terminate parental rights to another child . . . .”); In re C.W., No. 04-18-
00249-CV, 2020 WL 2044635, at *1 (Tex. App.—San Antonio Apr. 29, 2020, no pet.) (mem. op.) (“On May 17,
2019, the supreme court held in In re N.G., 577 S.W.3d 230, 235 (Tex. 2019), that ‘even when another ground is
sufficient for termination, because of the potential consequences for parental rights to a different child,’ if a parent
presents issues on appeal relating to the trial court’s findings pursuant to subsections (D) and (E), an appellate court
must address those issues.”); In re A.B.R., No. 04-19-00631-CV, 2020 WL 1159043, at *2 (Tex. App.—San Antonio
Mar. 11, 2020, pet. denied) (mem. op.) (holding we must address appellant’s challenges to the trial court’s subsections
(D) and (E) findings because they may have implications for a parent’s parental rights to other children); In re N.N.M.,
No. 04-19-00369-CV, 2019 WL 5196399, at *2 (Tex. App.—San Antonio Oct. 16, 2019, no pet.) (mem. op.) (“Given
[In re N.G.’s] holding by the supreme court, we must consider whether an arguable ground for appeal exists with
respect to subsections (b)(1)(D) and (E).”); In re E.F.Z., No. 04-19-00169-CV, 2019 WL 4044030, at *1 (Tex. App.—
San Antonio Aug. 28, 2019, no pet.) (mem. op.) (reviewing subsections (D) and (E) in a consolidated analysis because
“appellate courts are mandated to address issues raised on appeal challenging a trial court’s findings under those
subsections”).
6
  In re I.C. was also authored by Chief Justice Martinez.


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Concurring Opinion                                                              04-24-00125-CV


        Because the court only addresses the sufficiency of the evidence supporting ground (E)

when the sufficiency of the evidence supporting ground (D) was also challenged on appeal, I

concur in the judgment only.

                                               Irene Rios, Justice




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